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EXHIBIT B

 

 

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Hon. Robert Holmes Bell 10~1-2015
United States District Court

110 Michigan Street, N.W. Room 602

Gi'-and Rapids, Michigan 49503-2313

Honorable Bell,

Let me introduce myself, My name is Francis E. Attig III l am a Fire Fighter Driver for the city
of Norton Shores and I have known Mr. Fierro for over 20 years l,et me say first that I believe in
k our judicial system and what it stands for. I also believe in second chances, and I believe Mr.
Fierro is one of those people if given that chance would be grateful for that second chance and
not take it for granted. Mr. Fierro has worked hard to provide a good life for his family and will
continue to be a positive role model for is children and grand children His work ethic honestly
sir is second to none, and l know if given the opportunity, would continue this work ethic to be a
positive influence in our society.

As one of my duties as a Fire Fighter Driver for the City Of Norton Shores, I am assigned Fire
Prevention Open House. Our open house attracts more than 1200 people county wide and most
of all over 500 kids who learn about fire prevention Every year Mr. Fierro and/or his daughters
step up and provide food for our event. Without hesitation they are willing to give back to our
community.

I could go on and on about how his family is his world and it goes without saying that he feels he
let them down. There is no doubt that Mr. Fierro has remorse for what he has done and
understands that he now has to spend the rest of his life making up for those mistakes. I would
ask you give a path to do so. Sir l need you to know that as a man of morals and standards l do
not take writing this letter lightly. I am not just doing this because “it’s a nice thing” to do. I’m
doing this because I truly believe Pablo belongs with his family.

Respectively,

   

 

3811 Harbor Breeze Dr.
Muskegon, Mi. 49441
231'..206.0161

 

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September 30, 2015

Hon. Robert Ho|mes Be|l

United States District Court

110 Michigan Street, NW., Room 602
Grand Rapids, Michigan 49503-2313

Your Honor,
My name is Harvey Anderson, | am the owner of Meat B|ock |nc. of Muskegon, |'m writing to you
about Mr. Pablo Fierro. We've done business together for about 15 Years.

He is probably the hardest worker |'ve ever met. He is also a great family man. |'ve witnessed
many times how he treats customers at his previous restaurants

l don't condone what he did, but l feel if given a chance he can repay his debt to society. |'m
asking you sir to please consider leniency at his sentencing Thank you very much.

Harvey Anderson Mf\
Meat B|ock / j z
2330 E. Broadway

Muskegon, Mi
231 -773-0224

 

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AND RESTAURANT
EQU|PMENT AND SUPPL|ES

P 231 .733.7209
- CO-INC-

 

 

Kevin Marsha|l 231 .638.0578
Bi|| Sorensen 231 .638.0580

504 W. Hovey, Muskegon Hts, M| 49444
exparcompany@comcast.net

To: Hon. Robert Bell

United States District Court

110 l\/lichigan St. N.W. Room 602
Grand Rapids l\/lichigan 49503-2313

Dear Hon. Robert Ho|mes Bell

| am writing in regards to Mr. Pablo R. Fierro l have known him for 20 years. Pablo and l met
through buisness. When l first met him he was cook at a local l\/lexican Resturant and l sold
them Resturant equipment and supplies. He was a very hard worker and put in many hours
beyond the 40 hour work week. He aproached me, l am going to say 10 year ago about opening
a l\/lexican Resturant on his own an wondered lfl could help him finacia|ly, because of his hard
work ethic and l knew his family would all be there to work hard l agreed. Since that time l have
let him run large amount of credit in my store and he has always paid me on time. Pablo has
always been honest with me about everthing and because of his hard work and great family
they have been very successfull and l would have no problem ever trusting him with any
amount of credit we might extend`him. We have become good friends over the years an l think
he is a great family guy and as far as my dealings with him very honest.

Thank you

g…

Kevin Marsha|l President Expar

 

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Hon. Robert Ho|mes Bell

United States District Court

110 Michigan Street, N.W. Room 602
Grand Rapids, Michigan 49503-2313

Dear Honorab|e Robert Ho|mes Bell

l’m writing you on behalf of the Fierro family. l’ve been privileged enough to have a very special
and personal relationship with their entire family, specifically Pablo Razo Fierro.

l work for Gordon Food Service, a local food distribution company located in Grand Rapids, Mi.
l first met Pablo in 2007 as l became his food sales consultant From the first time l met Pablo l
knew that he was a man of business Someone loved and well respected by many in his
community, as well as patrons in his restaurant |'ve still yet to see another owner/operator of a
restaurant work as hard as Pablo with the same discipline and drive.

For me it was a great accomplishment working with someone of his talent and caliber within the
restaurant industry. l took great joy and pride in the relationship that we had, he could have
purchased food for his establishment from anyone who knocked at his door. Yet, he gave me a
chance to earn that right and also his respect

ln closing, l just wanted to say that the Pablo l grew to know was a man of hard work, respect
and most importantly family. Which l can proud|y say he accepted me into his. l ask the court
leniency during sentencing so Pablo can continue to help his daughters with their business

Sincerely,

Roy F|ores
(616)648-7791

 

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/’"`\
Corbin W. Kingsbury RF/MMQ

Associate Broker GUtStanding Ag€nts. q
Remax La keshore Outstandirlg R€Sl.lltSm.
210 Central Ave. W
Holland l\/li, 49423

Hon. Robert Ho|mes Bell

United States District Court

110 l\/lichigan St, N.W. Room 602
Grand Rapids, Michigan 49503-2313

RE: Pablo R. Fierro

Dear Sir,

l have known Pablo Fierro for close to 35 years. l met him at the El Camino Restaurant in
l\/|usl<egon. | lived in l\/luskegon at the time and owned several new car franchises in that town. | would
always try to speak Spanish with Pablo and he was always gracious with my mistakes His business went
through a few location changes, but his customers were very loyal. He would always come out of the
kitchen to talk to people eating in the restaurant and everybody |il<es him. He is a fixture in the l\/lexican
food business in l\/luskegon. The fact that his children work at the restaurant is a testament to his being
a good and loving father. l remember when one of his daughters who sings made a CD. He could not
wait to give them out to his customers so that everyone could share his daughter's voice. His pride as a
father was most evident. As a business owner myse|f, l can appreciate the loyalty he has built with his
client base over the years. Everybody always asks to see Pablo.

| understand that you have a job to do, and | can only ask that you consider Pablo’s character
and family status when you are considering his sentence. The law is the law and l am a staunch
supporter of the law, but | also know that not all people who run afoul of the law are bad peop|e. lf
there is some way that you can consider his sentence in such a way as to allow him to continue his
position within the community, many people would be positively impacted. | thank you for your time in
letting me express myselfon Pablo’s behalf.

 

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October 10th, 2015

Hon. Robert Holmes Bell

UNITED STATES DISTRICT COURT
110 Michigan Street, N. W., Room 603
Grand Rapids, Michigan 49503-2313

Your Honor,

I met Pablo Fierro in the early 1970s and have been close friends with him ever since. I have always been
impressed with his enthusiasm, his love of family and the practice of his Catholic faith. I have worked
with him on several projects and fundraisers over the years. He has been very involved in the Hispanic
community here in Muskegon as mentor, a community leader and in his parish.

Pablo has volunteered his time to parish festivals that celebrated the Hispanic community in Muskegon
County. He has shared his time, talents and even his home for Our Lady of Guadalupe celebrations. His
giving to the community included not only his time to catering graduations, quinceaneras, birthday
celebrations, anniversary parties and church social dinners, but he has also worked hard to be an example
for all those in the Hispanic community by living his mantra that ‘charity is an obligation, not an option.’
He has shown through his drive and perseverance that all have a chance for prosperity in this country.

He is a family man and a strong supporter of family values as evidenced by the support of his family. He
has been a good friend as evidenced by my support and the support of other who are submitting these
letters of reference He has been as much a brother to me as my own brother. I often refer to Pablo as ‘mi
compadre’ but in truth he has been more that that. He is family, he is a brother and a kindred soul.

We all have made mistakes in our lives and he like all people has their faults. I would ask that you take
into consideration the totality of his life; his devotion to his family, his service to the community, his
service, his church, and the example he has shown in taking responsibility for his actions. A man should
be weighed on all of this and not just that of one act, should he not? I would ask that you consider
leniency in his case. He has proven by returning to Muskegon he is willing to take responsibility for his
actions and continue to be an active member in the community

Thank you for your time and consideration in this matter. I am available at your convenience should you
need any other references or have any questions

Until then may God bless,

Mr. Benito Garza
3463 White Aspen Ln
Muskegon, MI 49441
231.767.1214
231.206.1858

 

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Hon. Robert Holmes Bell

UNITED STATES DISTRICT COURT
110 Michigan Street, N. W. Room 602
Grand Rapids, MI 49503-2313

Your Honor,

I would like to share with you a bit of what I have witnessed in regards to Mr. Pablo Fierro. I met Mr. Fierro about 25
years ago through St. Jean's Catholic Church, here in Muskegon. He and his wife Zulema and their children were very
well known for their regular attendance, strong cultural roots, kindness and helpfulness throughout the community. Over
the years they have remained faithful to supporting traditional events like the Annual Hispanic Fiesta and anything that
was asked of them.

I have worked at Muskegon Public Schools for ahnost 20 years in the ESL program and I have been a CCD teacher
(Catholic Catechism) for about 15 years at a couple different parishes in town. I remember sending people (parents and
students) to Mr. Fierro's restaurants, several times, when they would ask me for employment opportunities He would
make them earn their pay and given them the opportunity they desperately needed. I also remember specifically, on one
occasion, I wanted my class of 18 Confumation students (ages 12-16) to have new Bibles to study from, but the church
was low on f\mds. I was told to ask for donations and maybe they could find monies to complete the purchase l took a
couple students with me to Pablo’s Tacos and got to speak with Pablo directly about the donation. After a few minutes, he
not only was willing to donate some monies, he paid for my entire class to have new Bilingual Youth Bibles. l was quite
surprised at such a generous gitt!! lhad a large class that year and the Bibles were pricey. The students were so happy
when they received their blessing of the Holy Scriptures of their own. Most of them didn't even have a Bible in their
homes and Would not have been able to afford them.

Mr. Fierro's children and grandchildren are also an example of what our beautiful nation should be made up of. Hard
working students on the honor roll and adult individuals who are not a burden to our country but a great asset. They bring
much love, respect, values and still keep their own traditions alive, by representing them through positive action. The
entire Fierro family and Restaurants have ALWAYS been a positive addition to our public school system and city in
general. The children and grandchildren were often recognized for their academic and extracurricular higher levels of
excellence and accomplishments We know this is directly linked to family stability and upbringing in structured and
loving environments

My heartfelt prayers continue for this lovely family, I'm still shocked, but trust that out of the awful mistake will come
much more appreciation for freedom, a higher respect for the laws and forgiveness I know they will survive because Mr.
Fierro is and will always be a hardworking man of honor and integrity filled with faith in God. I don't know exactly what
his charges are, but I know the man who was always at work, bearing his physical pain daily, taking care of his families
needs, served the community and did it with a kind heart and polite smile. That's the person I know, remember and
support. Thank you for taking the time to read my letter. Please consider leniency when sentencing this non-violent man.

Sincerely Yours,

Elvira Rodriguez

5652 Richmond Ave.
Muskegon, Michigan 49442
(231) 557-8171

 

